                  Case 2:18-mj-00133-RJK Document 10 Filed 09/27/18 Page 1 of 4 PageID# 19
Prob 12(10/09)
VAE (rev, 5/17)
                                     UNITED STATES DISTRICT COURT                                ,
                                                         for the                             j   ; sEP 27 2018
                                      EASTERN DISTRICT OF VIRGINIA                               j
                                                                                             i   ;          .   _   -• -

U.S.A. vs. MariaA. Hrvhorenko                                       Docket No. 2:18niil33    ;          ;

                                                   Petition on Probation


          COMES NOW Eddie Lawrence. PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Maria A. Hrvhorenko. who was placed on supervision by the Honorable
Robert J. Krask, United States Magistrate Judge sitting in the Court at Norfolk. Virginia, on the 17th day of
April. 2018. who fixed the period of supervision at TWELVE (\T\ MONTHS, and imposed the general terms
and conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:

See Page 2.


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                                      See Attachinent(s)


PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.




                     ORDER OF COURT                                1 declare under the penalty of peijury that the
                                                                   foregoing is true and correct.
 Considered and ordered this _^_^*day of Sfpi..
 20 /S'and ordered filed and made a part of the                    Executed on:
 records in the above case.                                                .

                                                                   Eddie Lawrence
                  Robert^. I^k                                     U.S. Probation Officer
                  United StatesMa^strate Judge
                          Robert J. Krask                          Place Norfolk. Virginia
                  United States Magistrate Judge




TO CLERK'S OFFICE
Case 2:18-mj-00133-RJK Document 10 Filed 09/27/18 Page 2 of 4 PageID# 20




'   I.




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          Case 2:18-mj-00133-RJK Document 10 Filed 09/27/18 Page 3 of 4 PageID# 21

Petition on Probation
Page 2
RE: Hryhorcnko, Maria A.

OFFENSE: Theft of Government Property, a Misdemeanor (Count 1).

SENTENCE: Twelve (12) months probation, $100 fine, and $25 special assessment.

SPECIAL CONDITIONS:


1. Defendant is directed to participate in a theft prevention seminar, to be paid for at their own expense, as
   directed by the Probation Office.
2. The defendant shall maintain, and/or seek verifiable employment.
3. The defendant shall complete 50 hours of community service.
4. The defendant shall participate in alcohol and substance abuse testing and treatment as directed by the
   Probation Officer.

ADJUSTMENT TO SUPERVISION:


Ms. Hryhorenko's term of probation began on April 17, 2018, following sentencing, and her conditions of
supervision were reviewed in detail on the same day. At the conclusion of her initial office visit, Hryhorenko
and this officer signed her Conditions of Supervision sheet, which noted understanding of her supervision
obligations and willingness to fully comply. However, since that time, Hryhorenko's overall level of
compliance can best be described as marginal to poor.

While Hryhorenko has not sustained any new arrests for criminal conduct and has maintained verifiable
employment, she has consistently tested positive for illegal and/or controlled substances (including her initial
urine sample on April 17, 2018). On May 17, Hryhorenko received a substance abuse evaluation at
The Counseling Center, LLC, in Norfolk, Virginia, with a subsequent recommendation that she attend 26 weeks
of outpatient substance abuse education classes. Hryhorenko began group sessions on June 19, 2018. Due to
continued use of illegal and/or controlled substances, Hryhorenko's treatment plan was amended to include
individual counseling. This officer notes that Hryhorenko was not proactive in scheduling her initial start date
with The Counseling Center and failed to report for two sessions.

Additionally, Hryhorenko has not taken any steps to begin her 50 hours of Court ordered community service
despite having been instructed to do so.

In summary, Hryhorenko's level of commitment and motivation to abstain fi'om abuse of illegal and/or
controlled substances is poor, and given the severity of heraddiction, she (at a minimum) poses a serious risk to
herself. Despite having been consistently encouraged to enter inpatient treatment (which she initially declined
but now has verbalized her intention to do) Hryhorenko has not taken the necessary steps, nor acted with the
necessary urgency, to corral her very serious addiction to opioid drugs. It appears that Hryhorenko is firmly in a
contemplative stage ofchange. She has emphatically stated that she does not want to go to jail but has not made
commitments towards making a change.




                                                                                                       Prob 12(10/09)
                                                                                                       VAE (rev. 5/17)
          Case 2:18-mj-00133-RJK Document 10 Filed 09/27/18 Page 4 of 4 PageID# 22

Petition on Probation
Pages
RE: Hryhorenko, Maria A.

VIOLATIONS: The following violations are submitted for the Court's consideration.

SPECIAL CONDITION;                    FAILURE  TO  SATISFACTORILY  PARTICIPATE                         IN    A
                                      SUBSTANCE ABUSE TREATMENT PROGRAM.

Maria A. Hryhorenko failed to attend an outpatient substance abuse treatment group on July 24, 2018, and
August 14,2018.

CONDITION 7:                          POSSESSION  OF   HEROIN,                FENTANYL,          OPIATES,
                                      METHADONE, AND OXYCODONE.

Maria A. Hryhorenko submitted a urine specimen on six (6) separate occasions and each sample tested positive
for an illegal and/or controlled substance:



      DATE              HEROIN           FENTANYL         OPIATES        METHADONE          OXYCODONE


August 29,2018       Positive          Positive        Positive          Positive
August 14,2018       Positive                          Positive          Positive
Augusts, 2018        Positive          Positive        Positive                             Positive
June 26,2018                                           Positive
June 19,2018                                           Positive
April 24,2018        Positive                          Positive


EL/jmh




                                                                                                  Prob 12 (10/09)
                                                                                                  VAE (rev. 5/17)
